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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

 INDIANA UNIVERSITY CHAPTER OF                    )
 TURNING POINT USA, et al.,                       )
                                                  )
                             Plaintiffs,          )
                                                  )
                        v.                        )     No. 1:22-cv-00458-SEB-TAB
                                                  )
 CITY OF BLOOMINGTON, INDIANA, et                 )
 al.,                                             )
                                                  )
                             Defendants.          )

                                           ORDER

        Currently pending before the Court is Plaintiffs' Motion for Preliminary

 Injunction. Specifically, Plaintiffs Indiana University Chapter of Turning Point USA and

 Kyle Reynolds seek preliminary relief enjoining Defendants City of Bloomington,

 Indiana, Adam Wason, in his official capacity as Director of Public Works, and Kyla Cox

 Deckard, Beth H. Hollingsworth, and Dana Henke, in their official capacity as members

 of the Board of Public Works (collectively, "the City"), from enforcing against Plaintiffs

 the City's "right-of-way" policy, the enforcement of which prohibits Plaintiffs from

 painting their desired "All Lives Matter" mural on a city-owned street, which Plaintiffs

 allege violates, among other legal rights, their rights guaranteed by the First Amendment

 to the United States Constitution.

        On June 13, 2022, after Plaintiffs' Motion for Preliminary Injunction (the

 "Motion") had been fully briefed, the City requested permission to file supplemental

 briefing on the Motion to discuss the implications of the United States Supreme Court's

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 opinion in Shurtleff v. City of Boston, Massachusetts, 142 S.Ct. 1583 (2022), which was

 issued while the Motion was pending, and to address rebuttal evidence submitted with

 Plaintiffs' Reply Brief in support of the Motion. The City's unopposed request to file

 supplemental briefing was granted and the City was permitted to file "a supplemental

 brief of no more than 25 pages … to address … the impact of the … opinion in Shurtleff

 …, and to address the newly submitted evidence in Plaintiffs' Reply Brief." Dkt. 26 at 1.

        The City filed a 7-page supplemental brief on June 21, 2022, addressing the

 impact of the Shurtleff opinion, but not substantively addressing the rebuttal evidence

 submitted with Plaintiffs' reply brief. Instead, the City requests that Plaintiffs' new

 evidence and arguments be stricken because it was not proper for Plaintiffs to raise them

 for the first time in their reply. If the evidence is not stricken, the City alternatively

 requests that the Court establish a new briefing schedule to provide it an opportunity to

 address the newly designated evidence and arguments raised in Plaintiffs' reply brief.

        We, like Plaintiffs, are somewhat mystified by the City's requests. As Plaintiffs

 point out, after the City's response in opposition to the Motion was filed, the parties

 agreed to an extension of the briefing period in order for Plaintiffs to serve, and the City

 to respond, to limited discovery requests connected with issues raised in the City's

 response brief. Prior to Plaintiffs filing their reply brief, the parties' counsel expressly

 discussed that Plaintiffs intended to introduce new evidence in their reply to address the

 City's contention in its response brief that it has not established a limited public forum for

 expressive activities, and that the City would need a sur-reply to address any new

 evidence submitted by Plaintiffs. Accordingly, the City was in no way caught unawares

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 by the fact that Plaintiffs designated new evidence in support of their reply. Moreover,

 contrary to the City's characterization, the new evidence and arguments raised in

 Plaintiffs' reply respond to issues raised by the City's response brief, which is proper in a

 reply. As such, the City's motion to strike is not well-taken.

        The City's request that we set a briefing schedule so that it can address that

 evidence is equally puzzling as our stated purpose of permitting the City to file its

 supplemental brief was in part to allow it "to address the newly submitted evidence in

 Plaintiffs' Reply Brief." Dkt. 26 at 1 (emphasis added). If the City intended to move to

 strike Plaintiffs' rebuttal evidence as opposed to address that evidence, the City should

 have separately filed such a motion rather than request supplemental briefing and include

 its request to strike in that brief. See S.D. Ind. L.R. 7-1(a) ("A motion must not be

 contained within a brief, response, or reply to a previously filed motion unless ordered by

 the court."). Nonetheless, to ensure the issues presented on Plaintiffs' request for

 preliminary injunctive relief are fully briefed, we will permit the City ten (10) days from

 the date of this Order within which to file a substantive response to the rebuttal evidence

 and arguments raised in Plaintiffs' reply. The City should not expect any further

 extensions of time to file such a response.

        IT IS SO ORDERED.


        8/11/2022
 Date: ______________________________                      _______________________________
                                                            SARAH EVANS BARKER, JUDGE
                                                            United States District Court
                                                            Southern District of Indiana



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